                     CASE 0:22-cv-01711-NEB-BRT Doc. 1 Filed 07/05/22 Page 1 of 10
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                                     TINITED STATES DISTRICT COURT
                                         DISTRICT OF MINNESOTA
 Dkil vUrntukrlr,r      ff.:f,to     eE.Fuv-
                                                  Plaintiff(s),
                                                                                            22-cv-1711 NEB/BRT
                                                                                 Case No.
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                                                                                 DEMAND FOR JURY TRIAL
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                                           Defendant(s).

         @nter the full name(s) of ALL defendants in
         this lawsuit. Please attach additional sheet's
         if necessary).


                                                             covrpr,anvr
         PARTIES

         1'   List your name' address and telephone number. Do the sarne for
                                                                             any additional plaintiffs.

              a.   Plaintiff
                               ?\\    \1      I     ..
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           CASE 0:22-cv-01711-NEB-BRT Doc. 1 Filed 07/05/22 Page 2 of 10




  2- List all defendants. You should state the fullname of the defendant, even if that d.efendant
                                                                                                  is
     a government agency, art otganization, a colporation, or anindividual. Include the address
     where each defendant may be served. Make sure that the defendant(s) listed below
                                                                                          are
     identical to those contained in the above caption.

     a.    Defendant No. I

          Name         LiF<,h.iw1ofiftress \ne* g\ q,l_
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    b. DefendantNo.2

          Name
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        DefendantNo.3

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       State      & Zip Code
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NOTE: tF THERE ARE ADDITIONAL PLAINTTF.FS OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES AND ADDRESSES ON A SEPARATE SHEET
                                                                              OF PA}ER.
Check here if additional sheets of paper are attached:fl
Please label the attached,s,heets of paper to correspond to th. appropriate
                                                                            numbered
paragraph above (e.g. Additional Defendants 2.d.,2.e., etc.)
             CASE 0:22-cv-01711-NEB-BRT Doc. 1 Filed 07/05/22 Page 3 of 10




JURISDICTION
                                                                  types of cases can be heard in
Federal courts are courts of limited jurisdiction. Generally, two
federal court: cases involving a federal question and cases involving
                                                                       diversity of citizenship of
tl.purti.r. under 2g u.s.c. $ 1331, a case involving the united states constitution or federal
                                                                1332, a case in which a citizen of
laws or treaties is a federal quistion caie. Under 28 U.S.C. $
                                                                       is more than $75,000 is a
one state sues a citizen of another state and the amount of damages
diversity of citizenshiP case.

3. What is the basis for federal court jurisdiction? (check all that apply)
           nF"dttul   Question              Diversity of CitizenshiP
                                                           Fi    i)




4. If the basis for jurisdiction   is Federal Question, which Federal Constitutional, statutory or
      ftea$ right is at issue? List all thatapply'       i:{:




5. If the basis for jurisdiction   is Diversity of Citizenship, ryhat is the state of citizenship of each
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_     11t1"*1":'l:              l"*T*:"1u*":":i":'*:u*
      Plaintiff Na:ne:1)6r1*dr*kou        nJg$4."         State of    Citizenship:   NnN

      DefendantNo. 1: CuvtWb         v!   She'rtrrrrU     State of    Citizenship:   MN
      DefendantNo.     Z,\F\P   (lr(e'c.Hunq              state of citizenship:      'uu\
                         Cot{e-.L-t-q-
  .   Attach.additional sheets of paper     as necessary and label      this information as paragraph
      5.
      Check here if additional sheets of paper are      attachtd'|-|

 6. What is the basis for venue in the District of Minnesota?         (check   all that apply)

                            reside in Minnesota        facT_il:g.d below         primarily occurred in
           [nefenaantG)                            fr Minnesota
           n   Oth"r: explain




 STATEMENT OF TIIE CLAIM

 Describe in the space provided below the basic facts of your claim. The description of facts
                                                                                       named in
 should include a sp.cific explanation of how, where, andwhen each of the defendants
 the caption violated the law, and how you were harmed. Each paragraph must be mrmbered
              CASE 0:22-cv-01711-NEB-BRT Doc. 1 Filed 07/05/22 Page 4 of 10



     JURISDICTION

     Federal courts are courts of limited jurisdiction. Generally, two types of cases crn
                                                                                           be heard in
     federal court: cases involving a federal question and casei invotyils diversity
                                                                                      of citizeffi o?
     the parfies. Under 28 U.S.C. $ 1331, a case involving the United Siates Constitutioo
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     laws or heaties is a federal question case. Under 28 U.S.C. 1332, a case in
                                                                  $                 which a citizen oi
     one state sues a citizen of another state andthe amount of damages is more
                                                                                    than $75,000 is a
     diversity of citizenship case.

     3. what is the basis for federal court jurisdiction? (check all that apply)
           nF.d.tul      Question             ffiniu..rity   of Citizenship

     4. If the basis for jurisdiction   is Federai Question, which Fbderal Constitutional, statutory
                                                                                                     or
         treaty right is at issue?   List all that apply.




    5. If the basis forjwisdiction is Diversity_of Citizenship, what is the state of citizenship
                                                                                                 of each
        prty?   Each Plaintiffmust be diverse from each Defendant for diversityjurisdiction.

                                                               Slate of   eiti".nrtrip: tVINl
        DefendantNo. 1: l-ife-'L*\wr<- H${res
                                              e\ o\ state              ofcitizenship:   Wl\
        DefendantNo. 2:     EahfAnd l\kfqdl                    state   ofcitizenship: I r11d,t{
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       what is the basis for venue in the District of Minnesota7 (check all that apply)

          f]oefendant(s)      reside in   Minnesota     n    Facts alleged below primarily occurred in
                                                            Minnesota
                       explain
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    STATEMENT OF TIIE CLAIM

   Describe in the space provided below the basic facts of your claim.
                                                                       The description of facts
          include a specific explanation of how, where, and when each of
   thould                                                                the defendants named in
   the caption violated the law, and how you were harmed. Each paragraph
                                                                           must fe numbered
                               CASE 0:22-cv-01711-NEB-BRT Doc. 1 Filed 07/05/22 Page 5 of 10




                 . separately,beginning with-number 7." Please.write each single set of circumstances.in a
                   separately numbered parcgr apb,.


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         ALLEGATIONS OF PLAINTIFF'S COMPLAINT


11   .     This is a Intentionally Negligent and Infliction of Emotional
     Distress Claim involving the policies, practices, actions, omission law
     premises, Compensatory injunctive, and other equitable relief as the

     Court may see just.
L2.        PlaintiffInjuries sustained are aProximate and direct result of
     the practices, actions, omissions, negligent, misrepresentation Failure
     of Warning & Intentional'Act of the Defendant and it's employees.
13.        Plaintiff brings this action under the Negligent Failure to Warn
     Claims Act to redress the violations by Defendants.

14.        As a proximate result of the Defendant(s) policies, practices,
     actions, omissions, negligent and wrongful acts of Defendant and
     Employees complained of herein, and the conditions and
     circumstances described herein to which plaintiffwas subjected,

     Plaintiff suffered, does suffer, and will continue to suffer immediate
     and irreparable damage. Plaintiffhas no plain, adequate, or complete

     remedy at law to redress the intentional wrongs described herein.
15.        The Complaint states that Defendant LIFETIME FITNESS
     INC., LTC CLUB MANAGAGEMTNT COMPNAY LTC CLUB
     OPERATIONS INC. (collectively LIFETIME FITNESS) Constitute a
     nation wide chain of health and fitness facilities under the control of
     the Corporate office of LIFETIME FITNESS INC. Located in
     MINNESOTA, and hold themselves out to the General Public as a
     single enterprise each liable for the Violations of the other.
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16.        LIFETIME FITNESS is a MINNESOTA CORPORATION that
     operates a chain of health fitness centers across the nation.

17   .     Defendant BAHRAM AKRADI, Founded LIFETIME
     FITNESS, he aced as it's Chairman of the Board, President and CEO
     SKY LIFETIME FITNESS location on 605 W.           42"d Street,   New York,
     NY 10036.
18.        They run each location identically with the same kind of facility
     and service, they share employees, they have common management

     they pool their resources, they have common ownership and operate

     from the same Corporate Headquarters, they have the same operating
     name, they advertise together on the same website, and they use the

     same business model.

19.        They operate approximately 120 LIFETIME FITNESS locations
     in twenty-one States and twenty-six Major Cities and employ
     approxim ately 22,000 employees nationwide.
20.        Defendant LTF CLUB OPERATIONS CO INC. dlbla
     LIFETIME FITNESS.
21.        Plaintiff avers that the employees at the club failed to inform the
     Plaintiff of the Risk of Harm Zone Dangers.
22.        On or about January 2020, Plaintifffurther alleges the injury
     occuned while attending a event at SKY LIFETIME FITNESS
     CENTER in Manhattan, New York, NY.
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23.      Plaintiffavers an employee by LIFETIME FITNESS Carelessly
  and Negligently placed a bottle of   VODKA in his personal Locker
  without his knowledge or Consent, after the event Plaintiff opened his
  locker a bottle of VODKA fell out of the locker onto his leg and soiled
  and damaging his clothing.

24.      Plaintiffavers liability for its Negligence Failure to Warn of
  Unsafe, Dangerous, Operation's of it's Fitness Club.
25.      Plaintiffreceived Medical Care for his injuries and had to have
  surgery on his leg to repair the damage caused by the bottle   of
  VODKA left in the Plaintiffs locker. Plaintiff avers Defendant was
  accessing the locker without Authorization.

26.      Plaintiff submitted Injury Report to the General ManagerlStaff at
   SKY LIFETIEM FITNESSS, Front Desk stating that he was hit on his
   leg with a bottle that had fallen from his locker.
27.      The Plaintiff suffered a Financial loss as well as physical and
  mental injuries as a result of the Defendants Carelessly Neglecting to
   inform Plaintiff of the risks
28.      Plaintiffsuffers from pain and limited mobility to this day due to
  the injury.

zg.The Plaintiff avers that the Defendant negligently omitted the
  possibility of Physical Injury at all times relevant to the actions and
   events described herein, the Defendant(s) have acted Carelessly and
  Negligently.
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30.        Defendant(s) and employee Negligently Maintained safe manner
      of it's club locations, Defendant was the Manager of this location.
      Causing Severe and Permanent Injury and Significant Pain and

      Suffering on February 2020.
31.         Plaintifffurther alleges that Defendant was joined because even
      in cases where employee of LIFETIME FITNESS may be held
      Vicariously Liable for the actions of it's employees, the employer and
      employees may still be held severally liable to Intentional Negligence

      Claim against the employees.
32.         Plaintiffavers LIFETIME FITNESS and it's owners and
      employees are suppose to provide a safe environment. Defendant is to

      have proper safety protocols set in place to prevent any injuries from

      occurring.
aa
JJ.         Defendant(s) is Liable for leaving a bottle of VODKA in Mr.
      JIDOEFOR'S locker at the SKY LIFETIME CLUB where Plaintiff
      was injured.

34.         The acts committed by the Defendant giving rise to this
      Complaint were the result of Willful and Wanton Act of Misconduct
      by the Defendant(s) employee of LIFETIME FITNESS . The
      Violations in this Complaint were Intentionally against Statutory.
      Clearly established at the time of the Violations No Proper defense of
      qualified Waiver of Liability can be raised as a result.
          CASE 0:22-cv-01711-NEB-BRT Doc. 1 Filed 07/05/22 Page 10 of 10




 signed   trr   39     day.of
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                       Signature of Plaintiff

                       Mailing Address
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                       Telephone Number




Note: All plaintiffs named in the caption of the complaint must date and sign the complaint
                                                                                            and
provide his/her mailing address and telephone number. Attach additional sh-eets
                                                                                of paper as
necessary.
